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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

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          BRYCE CARRASCO,                       :    Civil Action
                      Plaintiff,                :
    v.                                          :    Case No. 21-532 (SAG)

M&T BANK,                                       :
         Defendant.                             :
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Why has the clerk not entered M&T’s default on the record? Is the presiding

judge going to allow M&T to bolster a fraudulent cross-motion? And is

Judge Gallagher going to deny Plaintiff’s motion for summary judgment? Or

even worse, grant a fraudulent cross motion made by the defendant? Will this

Court deny plaintiff justice, because he is self-represented?
